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4
     Attorney for Defendant
5    VIRGIL SANTA
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7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )            No. 2:08-CR-00468-MCE
                                     )
12                  Plaintiff,       )
                                     )
13        v.                         )            STIPULATION AND ORDER TO
                                     )            CONTINUE STATUS CONFERENCE
14   MARIA SANTA,, VIRGIL SANTA,     )
     CANDIT SAVA, JR., FABIAN        )
15   LEONTE, and GEORGIY TIMOFEY. )               Date: January 13, 2011
                                     )            Time: 9:00 a.m.
16                  Defendants.      )            Hon. Morrison C. England, Jr.
     _______________________________ )
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           Defendant, by and through their respective counsel, and the United States, through
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     its counsel, Assistant U.S. Attorney Matthew Stegman, hereby stipulate and request that
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     the Court continue the status conference in this case from December 16, 2010 to January
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     13, 2011, at 9:00 a.m.
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           The reason for this request is that the parties need additional time to review
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     discovery, conduct investigation, and prepare a defense for trial. The government has
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     provided over 8,600 pages of discovery. Further, attorney Jay Greiner, counsel for Fabian
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     Leonte, was appointed to replace prior counsel on August 19, 2010. Mr. Greiner is just
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     completing a multi-week trial in front of U.S. District Judge Edward J. Garcia. For these
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     reasons, the parties stipulate and request that the Court exclude time within which the trial
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     must commence under the Speedy Trial Act from the filing date of this stipulation to
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1    January 13, 2011 for defense preparation under 18 U.S.C. § 3161(h)(7)(B)(iv) (local code
2    T4) and complexity under 18 U.S.C. § 3161(h)(7)(B)(ii) (local code T2). Time has
3    previously been excluded on these grounds through December 16, 2010. The parties also
4    stipulate that the interest of justices served by granting this continuance outweigh the best
5    interest of the public and the defendants in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
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1           For these reasons, the parties request that the status conference in this case be
2    continued from December 16, 2010 to January 13, 2011, at 9:00 a.m. The parties
3    anticipate setting a trial date at that time.
4           IT IS SO STIPULATED.
5    DATE: December 10, 2010                   /s/ Krista Hart
                                               KRISTA HART
6                                              Attorney for MARIA SANTA
7    DATE: December 10, 2010                   /s/ John Balazs
                                               JOHN BALAZS
8                                              Attorney for VIRGIL SANTA
9    DATE: December 10, 2010                   /s/ Jeffrey L. Staniels
                                               JEFFREY L. STANIELS
10                                             Assistant Federal Defender
                                               Attorney for CANDIT SAVA, JR.
11
     DATE: December 10, 2010
12                                             /s/ Chris Haydn-Myer
                                               CHRIS HAYDN-MYER
13                                             Attorney for GEORGIY TIMOFEY
14   DATE: December 10, 2010
                                               /s/ JAMES GREINER
15                                             JAMES GREINER
                                               Attorney for FABIAN LEONTE
16
     DATE: December 10, 2010                   BENJAMIN WAGNER
17                                             United States Attorney
18                                      By:    /s/ Matthew Stegman
                                               MATTHEW STEGMAN
19                                             Assistant U.S. Attorney
20
            IT IS SO ORDERED.
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      Dated: December 13, 2010
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                                                     ________________________________
24                                                   MORRISON C. ENGLAND, JR.
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                                                     UNITED STATES DISTRICT JUDGE

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